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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


 United States of America,                           Case No. 21-cr-93 (JRT/TNL)

               Plaintiff,

 v.                                                            ORDER

 Robbin Allen Thomas,

               Defendant.


                                  I. INTRODUCTION

       This matter came before the Court for a criminal motions hearing on November 8,

2021. (ECF No. 70.) Assistant United States Attorney Ruth S. Shnider appeared on behalf

of the Government. Attorney F. Clayton Tyler appeared on behalf of Defendant Robbin

Allen Thomas. This Order memorializes the findings made orally on the record and

incorporates by reference such oral record.

                                  II. BACKGROUND

       Defendant has been charged by way of Indictment with one count of possession

with intent to distribute a controlled substance in violation of 21 U.S.C. §§ 841(a)(1) and

841(b)(1)(A). (ECF No. 1.) After finding that Defendant qualified for the appointment of

counsel in this case, Attorney Tyler was appointed to represent Defendant. (ECF Nos. 6,

9.)

       At the outset of the criminal motions hearing on November 8, 2021, Defendant

stated that he is a natural born American Moorish Citizen National, attempted to invoke


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his right to “consul” jurisdiction, and asserted that he no longer wished to have his counsel

of record, Attorney Tyler, represent him. Attorney Tyler then orally moved to withdraw.

The Government voiced no objection to Attorney Tyler’s motion, but otherwise did not

participate in the motion. The Court excused counsel for the Government and sealed the

record in order to explore the basis for the motion in greater detail. Upon re-opening the

record, the Court granted Attorney Tyler’s motion on the record during the hearing. (ECF

No. 70.)

                                       III. ANALYSIS

       A. Attorney Tyler’s Motion

       Under District of Minnesota Local Rule 83.7(c), withdrawal of counsel in the

absence of substitute counsel may only be allowed upon a motion and a showing of “good

cause.” “What constitutes ‘good cause’ for the withdrawal of counsel, without substitution,

cannot be readily defined, or categorized, but must be evaluated on a case-by-case basis,

and determined by examining the reasons proffered for the asserted need to withdraw.”

Cabo Holdings, LLC v. Englehart, No. 07-cv-3524 (PJS/RLE), 2008 WL 4831757, at *4

(D. Minn. Nov. 3, 2008) (citing Spearman v. Salminen, 379 N.W.2d 627, 632 (Minn. Ct.

App. 1986)); accord Int’l Decision Sys., Inc. v. Cont’l First Fed., Inc., No. 08-cv-4961

(DWF/JJK), 2009 WL 10471192, at *1 (D. Minn. June 29, 2009); cf. United States v.

Vallery, 108 F.3d 155, 157 (8th Cir. 1997) (“A trial court has broad discretion in

determining whether to grant or deny a request for substitution of counsel, particularly

when the issue is raised close to the date of trial.”).



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       “[J]ustifiable dissatisfaction necessitating new counsel can arise from an

irreconcilable conflict between the defendant and the attorney, a complete breakdown in

their communications, or an actual conflict of interest resulting from continued

representation.” United States v. Rodriguez, 612 F.3d 1049, 1054 (8th Cir. 2010). Further,

in this district, good cause for withdrawal has been found “where there has been a

‘complete breakdown in the attorney-client relationship.’”       BBY Solutions, Inc. v.

Karreman, No. 10-cv-4726 (MJD/TNL), 2012 WL 12897874, at *1 (D. Minn. Oct. 12,

2012) (quoting Luiken v. Domino’s Pizza LLC, No. 09-cv-516 (DWF/AJB), 2009 WL

4723296, at *3 (D. Minn. Dec 2, 2009)); see also Cabo Holdings, 2008 WL 4831757, at

*4 (noting good cause exists “where a degree of fractiousness, between the client and

counsel, has developed which inhibits the just, speedy, and inexpensive determination of

the action” (quotation omitted)).

       Based on the record before the Court and the representations of Attorney Tyler and

Defendant during the in camera portion of the hearing, the Court concluded that there has

been a complete breakdown in the attorney-client relationship which includes the complete

breakdown of communications between Attorney Tyler and Defendant.

       Given the complete breakdown of the attorney-client relationship, the Court

concluded that there was good cause for withdrawal of Attorney Tyler without substitution

and Attorney Tyler’s motion to withdraw was granted on the record. The irretrievable

differences between Attorney Tyler and Defendant and the complete breakdown in their

communications has rendered impossible the continuation of their attorney-client

relationship. Attorney Tyler is no longer counsel of record for Defendant.

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       B. Appointment of New Counsel

       During the hearing, Defendant expressed that he went by a different name, Sheik El

Robbin El Allen Thomas El Bey, and attempted to invoke his right to “consul jurisdiction

and consul court.” He claimed that he is a natural born American Moorish Citizen

National. After the hearing, Defendant sent the Court and the Clerk of Court documents

which appear to assert his position that as a Moorish American National, this Court lacks

jurisdiction over his person. (See ECF Nos. 71, 71-1.) These documents are signed by

another individual, C. Bey El, who calls herself the wazir and consul for Defendant. (ECF

No. 71 at 11-12; ECF No. 71-1 at 3, 8-9.) An attorney has not filed a notice of appearance

on behalf of Defendant.

       The Moorish Nation has not been recognized as a sovereign state by the United

States. See Speed v. Mehan, No. 4:13CV1841 SNLJ, 2013 WL 5776301, at *1 (E.D. Mo.

Oct. 25, 2013) (collecting cases). As the Seventh Circuit has emphasized, Moors are not

sovereign citizens and have no immunity from United States law:

              Many [Moors] argue, without any basis in fact, that as a result
              of eighteenth-century treaties the United States has no
              jurisdiction over its Moorish inhabitants . . . [Defendant] may
              be a Moor but—we emphasize, in the hope of staving off future
              such frivolous litigation—he is not a sovereign citizen. He is
              a U.S. citizen and therefore unlike foreign diplomats has no
              immunity from U.S. law.

Bey v. State, 847 F.3d 559, 561 (7th Cir. 2017). Though Bey dealt with a civil matter, it is

no less relevant in the context of this criminal case: Defendant is not a sovereign citizen.

He does not have immunity from United States law.



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       The Court, during the hearing, conducted an inquiry of Defendant pursuant to

Faretta v. California, 422 U.S. 806 (1975). Defendant responded to each question

appropriately with intelligent answers. When asked if Defendant would be proceeding pro

se, Defendant stated his position was that he will be represented by “consul.” The oral

record establishes that Defendant understood the distinction between legal counsel and

“consul.”

       “In all criminal prosecutions, the accused shall enjoy the right . . . to have the

Assistance of Counsel for his defence.” U.S. Const. amend. VI. “The Supreme Court has

interpreted this right to counsel as requiring that indigent defendants be provided counsel

unless the right has been voluntarily and intelligently waived.” Koenig v. North Dakota,

755 F.3d 636, 640 (8th Cir. 2014) (citing Johnson v. Zerbst, 304 U.S. 458, 464 (1938))

(additional citation omitted). The right to counsel, however, is “circumscribed in several

important respects.” Wheat v. United States, 486 U.S. 153, 159 (1988). A person who is

not a member of the bar may not represent clients in court. Id.; see also United States v.

Pilla, 550 F.2d 1085, 1093 (8th Cir. 1977) (right to counsel was not violated when court

denied request to be represented by layperson).

       The right to counsel is also balanced with a defendant’s right to represent oneself.

See United States v. Sanchez-Garcia, 685 F.3d 745, 751 (8th Cir. 2012) (“The Sixth

Amendment . . . grants an accused both the right to counsel and the alternative right to self-

representation.”) (citing Faretta, 422 U.S. at 807). “Counsel may be waived if the

defendant ‘knows what he is doing and his choice is made with eyes wide open.’” United

States v. Stanley, 891 F.3d 735, 738 (8th Cir. 2018) (quoting Faretta, 422 U.S. at 835); see

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also United States v. Krug, 822 F.3d 994, 1000 (8th Cir. 2016) (writing that in order to

waive the right to counsel, “[t]he defendant must understand the consequences of

proceeding pro se and be competent to stand trial as evidenced by an understanding of the

nature of the legal proceedings against him.”) (citation omitted). The Court is thus tasked

with making Defendant “aware of the dangers and disadvantages of self-representation.”

Faretta, 422 U.S. at 835.

       “It is clear” however, “that a defendant cannot manipulate this Sixth Amendment

right [to counsel] in order to delay or disrupt his trial.” United States v. Conklin, 835 F.3d

800, 804 (8th Cir. 2016) (citation & quotation omitted); cf. United States v. Edelmann, 458

F.3d 791, 808-09 (8th Cir. 2006) (“The right [to self-representation] does not exist . . . to

be used as a tactic for delay, or disruption, for distortion of the system, or for manipulation

of the trial process.”) (quotation omitted). Further, “it is well-established that an accused

can waive his right to counsel by conduct.” Conklin, 835 F.3d at 804. “Courts have held

that where a defendant is warned that he must choose between continuing with court-

appointed counsel or proceeding pro se, the defendant’s choice to discharge the appointed

counsel constitutes a knowing and intelligent waiver to the right of assistance of counsel.”

Sanchez-Garcia, 685 F.3d at 751; see also Conklin, 835 F.3d at 804-05; United States v.

Irorere, 228 F.3d 816, 828 (7th Cir. 2000) (“[S]o long as the district court has given a

defendant sufficient opportunity to retain the assistance of appointed counsel, defendant’s

actions which have the effect of depriving himself of appointed counsel will establish a

knowing and intentional choice.”).



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       Defendant made clear during the hearing that he no longer wanted to utilize the

services of Attorney Tyler and instead has filed documents reflecting his belief that he is

not subject to the Court’s jurisdiction and is represented by “consul.” As discussed supra,

Defendant’s beliefs, however genuine, lack legal merit. He is subject to this Court’s

jurisdiction, and he cannot rely on the argument that he is entitled to representation by way

of “consul” as a way to delay these proceedings. Nor can a layperson represent him. The

Court has previously cautioned him of the dangers of proceeding pro se and has given him

options on how to proceed.

       In sum, Defendant has three options now that the Court has granted Attorney Tyler’s

motion to withdraw: he may (1) request to have new counsel appointed; (2) hire new legal

counsel, admitted to practice law before this Court; or (3) proceed pro se because the oral

record from the hearing establishes that the Court conducted a Faretta inquiry and that

Defendant has effectively knowingly and intelligently waiving his right to counsel. See

United States v. Swinney, 970 F.2d 494, 498 (8th Cir. 1992) (“Thus, the district court may

properly require the defendant to choose either to proceed pro se, with or without the help

of standby counsel, or to utilize the full assistance of counsel, who would present the

defendant’s defense.”), cert. denied, 506 U.S. 1011 (1992). As discussed below, the Court

granted Defendant’s oral motion for a continuance and will give Defendant until the next

hearing date to decide how he would like to proceed.

       C. Continuance of Hearing

       At the hearing, Defendant orally requested a continuance in order to secure “consul”

representation. The Court granted Defendant’s oral motion to continue the hearing so that

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he may be prepared for the criminal motions hearing with new legal counsel, or on his own.

The motions hearing was continued to December 13, 2021. Defendant expressed that he

would be able to file any additional motions on or before December 1, 2021. He also

stated that if he did not file new motions prior to that date, he would be proceeding on the

motions that Attorney Tyler previously filed. 1 No additional motions have been filed.

After Defendant filed the documents challenging this Court’s jurisdiction (see ECF Nos.

71, 71-1), the Government filed a Notice Regarding Intention to Proceed at December 13

Motions Hearing and Response to Docket No. 71 (ECF No. 72). This notice memorializes

the Government’s position regarding the upcoming hearing on December 13. (ECF No.

72.)

        Pursuant to 18 U.S.C. § 3161(h), the Court finds that the ends of justice served by

granting a continuance outweigh the best interests of the public and Defendant in a speedy

trial and such continuance is necessary to provide Defendant reasonable time necessary for

effective preparation for the criminal motions hearing on December 13, 2021.

        Finally, the Court cautions Defendant that his conduct has demonstrated that, unless

he hires counsel admitted to practice before this Court prior to the motions hearing

scheduled for December 13, he will be proceeding at the motions hearing pro se. The Court

has cautioned him pursuant to Faretta. See Conklin, 835 F.3d at 804-05; Sanchez-Garcia,

685 F.3d at 751. Given the possible absence of the appearance of substitute counsel


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  These motions are: Motion for Disclosure of Evidence Favorable to the Defendant (ECF No. 40); Motion for
Disclosure of Grand Jury Transcripts (ECF No. 41); Motion for Pretrial Disclosure of Jencks Act Materials (ECF
No. 42); Motion for Disclosure of Rule 404 Evidence (ECF No. 43); Motion for Disclosure of Wiretaps and Other
Electronic Surveillance (ECF No. 44); Motion for Discovery and Inspection (ECF No. 45); Motion to Retain Rough
Notes (ECF No. 46); and Motion to Suppress Evidence Obtained by Search and Seizure (ECF No. 47).

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admitted to practice law before this Court on behalf of Defendant, the Office of the Federal

Defender is requested to appear at the December 13, 2021 hearing to be possible standby

counsel. The Court is not inclined to grant further continuances of the criminal motions

hearing.

                                       III. ORDER

       Based on the foregoing, and the file, records, and proceedings herein, and for the

reasons articulated on the record at the November 8, 2021 hearing, IT IS HEREBY

ORDERED that:

       1. Attorney Tyler’s oral motion to withdraw as counsel of record without
          substitution is GRANTED.

       2. Defendant’s oral request for a continuance is GRANTED.

       3. The period of time from November 8 through December 13, 2021 shall be
          excluded from Speedy Trial Act Computations in this case.

       4. The criminal motions hearing is CONTINUED and shall take place before
          Magistrate Judge Tony N. Leung on December 13, 2021 at 1:00 p.m., in
          Courtroom 9W, Diana E. Murphy U.S. Courthouse, 300 South Fourth Street,
          MINNEAPOLIS, Minnesota.

       5. The trial date, and other related dates, will be rescheduled at a date and time to
          be determined before Chief District Judge John R. Tunheim in Courtroom 15,
          Diana E. Murphy U.S. Courthouse, 300 South Fourth Street, MINNEAPOLIS,
          Minnesota. Counsel must contact the Courtroom Deputy for Chief District
          Judge Tunheim to confirm the new trial date.

Date: December 2 , 2021                                 s/Tony N. Leung
                                                 Tony N. Leung
                                                 United States Magistrate Judge
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